[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
It may be, as the plaintiff claims, that the defendant's son committed the acts complained of in November, 1997. However, there is no evidence that the son was the agent of the mother in so doing in November, and the law provides that he is not necessarily his mother's agent. Carrier v. Donovan, 88 Conn. 37,40, 89 A. 894 (1914). If the plaintiff's personalty was removed in November, 1997, she has not shown that there is probable cause that the defendant removed it. The personalty that was removed on and after December, 1997 was removed after the plaintiff had abandoned or vacated the premises. CT Page 4861
The court finds that the plaintiff has not shown that there is probable cause that a judgment will be rendered in her favor. the application for a prejudgment remedy is denied.
BY THE COURT
Bruce L. LevinJudge of the Superior Court